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                               UNITED STATES DISTRICT COURT
                             FOR THE EASTERN DISTRICT OF TEXAS
                                    BEAUMONT DIVISION

 STARSTONE NATIONAL INSURANCE                          §
 CO.,                                                  §
                                                       §
        Plaintiff,                                     §
                                                       §
 v.                                                    §      Civil Action No. 1-20-cv-00020
                                                       §
 ALYSSA SMITH, MICHAEL TAYLOR                          §
 AND TAYLOR PEPPER                                     §
                                                       §
        Defendants.                                    §

PLAINTIFF STARSTONE NATIONAL INSURANCE CO.’S ORIGINAL COMPLAINT

TO THE HONORABLE JUDGE OF SAID COURT:

       COMES NOW Plaintiff, Starstone National Insurance Co, and makes and files this

Complaint against Defendants Alyssa Smith, Michael Taylor and Taylor Pepper and would show

the Court as follows:

                                              I.
                                        INTRODUCTION

       1.1     This is an action for declaratory judgment to determine whether Starstone National

Insurance Company has a duty to indemnify Defendants Alyssa Smith, Michael Taylor and Taylor

Pepper under a liability policy issued by Starstone National Insurance Co. to Alyssa Smith. On

November 20, 2019 Michael Taylor entered into an “agreed final judgment” in the lawsuit styled

Taylor Pepper v. Alyssa Smith; Cause No. A180297-C in the 128th Judicial District Court of

Orange County, Texas. (the “Underlying Suit.”). The “Agreed final Judgment” states that either

Michael Taylor or his insurer will fully pay the judgment as well as fees and expenses incurred by

Taylor Pepper in prosecuting the lawsuit against him. Starstone National now seeks a declaration

that it is not bound by the “agreed final judgment” nor is it obligated to indemnify Taylor for same.



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                                              II.
                                            PARTIES

        2.1     Plaintiff Starstone National Insurance Co. is a citizen of New Jersey having its

principal place of business in Jersey City, New Jersey at Harborside 5, 185 Hudson Street, Suite

2600, Jersey City, New Jersey.

        2.2     Defendant Alyssa Smith is an individual who resides in Orange County, Texas who

may be served with process at 1280 Texla Road, Vidor Texas 77662, or at any other location where

she may be found.

        2.3     Defendant Michael Taylor is an individual who resides in Orange County, Texas

who may be served with process at 1280 Texla Road, Vidor Texas 77662 or at any other location

where he may be found.

        2.4     Defendant Taylor Pepper is an individual who resides in Orange County, Texas

who may be served with process at 210 Live Oak, Bridge City, Texas 77611 or at any other location

where she may be found.

                                             III.
                                   JURISDICTION AND VENUE

        3.1     The Court has jurisdiction over this matter pursuant to 28 U.S.C. § 1332 because

there is a complete diversity of citizenship among the parties and the amount in controversy,

exclusive of interest and costs, exceeds the sum of $75,000.00.

        3.2     Venue is proper in this judicial district pursuant to 28 U.S.C. §§ 124(b)(2) and

1391(b) in that all or a significant part of the acts or omissions giving rise to this claim occurred

in this judicial district and division.




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                                            IV.
                                     BASIS FOR CLAIMS

        4.1    The instant dispute arises out of an agreed to judgment entered into by Taylor as to

events occurring on or about September 24, 2017. The Underlying Suit arose out of a lawsuit

brought by a Taylor Pepper against Smith and Taylor. Starstone was not a party to the Underlying

Suit.

        4.2    Pursuant to the terms and conditions of the policy at issue, Starstone provided a

defense to Smith. Starstone did not provide a defense to Taylor as at the time of the events alleged

in the underlying lawsuit Taylor was not an insured under the policy at issue. A copy of the policy

is attached as Exhibit 1.

        4.3    On or about November 20, 2019, Michael Taylor entered into an “Agreed Final

Judgment” with Taylor Pepper for $100,000.00.

                                          V.
                                 THE STARSTONE POLICY

        5.1    Starstone issued policy no. TNI000036335 to Alyssa Smith. The policy is effective

from August 1, 2017 to August 1, 2018. The Starstone policy provides liability coverage to certain

persons pursuant to the terms and conditions of coverage. The policy identifies Smith as the named

insured.

        Named Insured and Mailing Address:
        Alyssa Smith
        1280 Texla Rd
        Vidor, Tx 77662-8315

        At the time of the events of September 24, 2017, Smith and Taylor were not
        legally married but rather were engaged to be married.

        The policy contains the following definitions as to who is an insured person:

        *      *       *




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       6.     Insured person(s) – means you and, if a resident of your
              household:

              (a)    any relative; and
              (b)    any person under the age of 21 in your care.

       *      *      *

                     17. You or Your – means the person listed under Named
                     Insured(s) on the Policy Declarations as the insured and that
                     person’s resident spouse.

       The policy further provides:

       *      *      *

       Insuring Agreement

       In reliance on the information you have given us, we agree to provide the
       coverages indicated on the Policy Declarations. In return, you must pay the
       premium when due and comply with the policy terms and conditions. You
       must also inform us of any change in title, use or occupancy of the
       residence premises.

       *      *      *

       This policy imposes joint obligations on the Named Insured (s) listed on the
       Policy Declarations as the insured and on that person’s resident spouse.
       These persons are defined as you or your. The responsibilities, acts and
       omissions of a person defined as you or your will be binding upon any other
       person defined as you or your, except as provided under the following:

       1.    Losses We Do Not Cover Under Coverage A, Coverage B and
             Coverage C, 1.g;
       2.    Losses We Do Not Cover Under Coverage X and Coverage Y, 1.

       *      *      *

       Policy Transfer

       Your rights and duties under this policy may not be transferred without
       our prior written consent.

       *      *      *




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       Misrepresentation, Fraud or Concealment

       We may void this policy only in accordance with the Texas Insurance
       Code Chapter 705, Subchapter A.

                                        *       *      *

       The policy provides liability coverage as follows:

             SECTION II – FAMILY AND GUEST MEDICAL PROTECTION

       Coverage X – Family Liability Protection

       Losses We Cover Under Coverage X

       Subject to the terms, conditions and limitations of this policy, we will pay
       damages that an insured person becomes legally obligated to pay
       because of bodily injury or property damage arising from an occurrence
       to which this policy applies, and is covered by this part of the policy.

       We may investigate or settle any claim or suit for covered damages against
       an insured person. If an insured person is sued for these damages, we
       will provide a defense with counsel of our choice, even if the allegations are
       groundless, false or fraudulent. We are not obligated to pay any claim or
       judgment after we have exhausted our limit of liability.

       *      *       *

       4.     We do not cover any liability an insured person assumes arising out
              of any contract or agreement.

       *      *       *

       Conditions

       1.     What You Must Do After An Accidental Loss

              In the event of bodily injury or property damage, you must do the
              following:

              a)      promptly notify us or our agent stating:

                      1)     your name and policy number;

                      2)     the date, the place and the circumstances of the loss;




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                     3)     the name and address of anyone who might have a
                            claim against an insured person;

                     4)     the names and addresses of any witnesses.

              b)     promptly send us any legal papers relating to the accident.

              c)     at our request, an insured person must:

                     1)     cooperate with us and assist us in any matter
                            concerning a claim or suit;

                     2)     help us enforce any right of recovery against any
                            person or organization who may be liable to an insured
                            person;

                     3)     attend any hearing or trial.

              d)     under the Damage To Property Of Others protection, give
                     us a sworn statement of the loss. This must be made within
                     91 days after the date of loss. Also, an insured person must
                     be prepared to show us any damaged property under that
                     person’s control.

       Any insured person will not voluntarily pay any money, assume any
       obligations or incur any expense, other than for first aid to others at the time
       of the loss as provided in this policy.

       *      *      *

       7.     Lawsuits Against Us
              (a) No one may bring an action against us in any way related to
                   the existence or amount of coverage, or the amount of loss
                   for which coverage is sought, under Coverage X, unless
                   coverage is sought, under Coverage X, unless the obligation
                   of an insured person to pay has been finally determined
                   either by judgment against the insured person after actual
                   trial, or by written agreement of the insured person.

       *      *      *

       5.2    Following Smith reporting the claim to Starstone on September 26, 2017, Starstone

promptly conducted an investigation and interviewed both Smith and Taylor on multiple

occasions. During each interview both Smith and Taylor confirmed that they were not common



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law married, were not at the time of the events holding themselves out as husband and wife and

did not consider themselves to be husband and wife.

       5.3      Following the investigation, Pepper filed her original lawsuit against Smith only on

August 8, 2018. Starstone accepted Smith’s tender of defense and provide her counsel with respect

to the allegations alleged against her.

       5.4      On June 20, 2019 Pepper filed her first amended petition and added Taylor as an

individual defendant. Based upon its investigation and the uncontroverted statements of both

Taylor and Smith as to their marital status at the time of the events alleged, Starstone denied a

defense to Taylor on July 22, 2019.

       5.5      On November 20, 2019, Taylor apparently appeared in court and directly

contradicted his prior statements to Starstone and affirmatively stated that he and Smith were

common law married at the time of the events alleged. He further agreed he was liable for all of

Pepper’s damages and that those damages were the $100,000 policy limits of the liability coverage

of the policy at issue. Taylor did not contest the damages and presented no defense.

       5.6      The “Agreed final Judgment” reads as follows:

                                        AGREED FINAL JUDGMENT

               On this date, came on to the heard in the above-styled and numbered cause, Plaintiff Taylor

       Pepper appeared by and through her attorney of record, and defendant, Michael Taylor also appeared

       prose, as reflected by the signatures of counsel and defendant Michael Taylor below, and announced

       that all matters in controversy settled and compromised. The parties waived trial by jury and

       submitted all matters, both of fact and law, to the Court.

               The parties announced in open court that all claims and causes of action which have

       been asserted or which could have been asserted by the Plaintiff against Defendant Michael

       Taylor, by reason of the matters and things complained of herein, has been compromised and

       settled, subject to the approval of the Court. Defendant, Michael Taylor, hereby admits that his




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       negligent acts as described in Plaintiff's First Amended Petition proximately caused the injuries

       and damages to Plaintiff as set out therein. Furthermore, Defendant, Michael Taylor admits

       that at the time of the event giving rise to the cause of action described in Plaintiffs First

       Amended Petition, he and Alyssa Smith were married in common law in the State of Texas.

               Such agreement, having been made known to the Court, the Court was of the opinion

       that Defendant Michael Taylor is liable for the damages sustained by the plaintiff and that such

       settlement is fair and just to the Plaintiff and should be apportioned as provided herein.

                It is therefore, ORDERED, ADJUDGED, and DECREED by the Court that Plaintiff suing

       herein has and recovers of and from Defendant, Michael Taylor as follows:

                1)        To Taylor Pepper, and her attorney Rodney Townsend, Townsend, P.C., the sum

       of One Hundred Thousand Dollars and no/100 ($100,000.00).

                It is further, ORDERED, AUJUDGED, and DECREED that all costs of Court, including

       costs, pre and post judgment interest, and expenses be taxed against Defendant, Michael Taylor.

                Upon pronouncement of the Judgment of this Court, all parties announced in open Court

       that said Judgment was satisfactory and would not be appealed and made admissions that Defendant,

       Michael Taylor and/or his Insurer will have fully paid this Judgment by paying the amounts awarded

       herein, and by paying the expenses, interest and costs as outlined herein. Upon payment of the

       stated amount, this Judgment will be declared fully and finally satisfied, paid off and discharged in

       full, and Defendant will be hereby forever relieved and discharged of and from any and all liabilities,

       claims, demands, and causes of action of whatsoever nature asserted or which might have been

       asserted herein, known or unknown, accrued or to accrue, arising from or in any manner growing

       out of the incident made the basis of this lawsuit, as described in Plaintiff’s pleadings on file herein,

       and not execution shall ever issue hereon.

                It is further, ORDERED, ADJUDGED, and DECREED that any and all relief sought and

       prayed for by Plaintiff hereto which is not herein specifically granted is also granted.

       5.7      Smith was not present and Smith’s counsel was not given notice of the hearing and

did not appear for same. At no time prior to November 20, 2019 did Taylor ever inform Starstone

that he did believe he and Smith to be “common law” married or that they had held themselves out


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as husband and wife in September 2017. Pepper seeks to enforce this “agreed judgment” and have

Starstone pay its policy limits to satisfy same.

                                             VI.
                                      CAUSES OF ACTION

Declaratory Judgment

       6.1     Pursuant to 28 U.S.C. § 2201 et seq., Starstone seeks a declaration that:

               a.      Starstone has no duty to indemnify Smith or Taylor for amounts set

                       forth in the “agreed final judgment”

               b.      Pursuant to Great American Insurance Co. v. Hamel, 525 S.W.3d

                       655 (Tex. 2017), Starstone is not bound by the “Agreed final

                       judgment” entered into by Taylor and Pepper.

                                           VII.
                                  CONDITIONS PRECEDENT

       7.1     All conditions precedent to Starstone’s recovery herein have occurred or have been

waived.

                                     VIII.
                       RESERVATION REGARDING AMENDMENT

       8.1     Starstone reserves the right to amend as necessary to add to this action additional

claims that may be made against Defendant(s).

       WHEREFORE, PREMISES CONSIDERED, Starstone National Insurance Co. prays

for judgment declaring the rights and obligations of the parties, and in particular for a declaration

that Starstone has no duty to indemnify Taylor for the amounts set forth in the “Agreed judgment”

nor to pay Pepper the amounts set forth in the “agreed judgment”; and for such other and further

relief, at law or in equity, to which Colony may show it is justly entitled.




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                                          Respectfully submitted,

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